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8                                UNITED STATES DISTRICT COURT
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                                  EASTERN DISTRICT OF CALIFORNIA
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11   MICHAEL WILSON,                                 )    Case No.: 1:16-CV-00720 JLT
                                                     )
12                  Plaintiff,                       )    ORDER TO SHOW CAUSE WHY SANCTIONS
13          v.                                       )    SHOULD NOT BE IMPOSED FOR FAILURE TO
                                                     )    COMPLY WITH THE COURT’S ORDER
14   CITY OF BAKERSFIELD, et al.,                    )
                                                     )
15                  Defendants.                      )
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17          After reviewing the parties’ mid-discovery status conference, the Court ordered counsel to
18   confer as to whether they wished to be referred to the VDRP or would like an early settlement
19   conference and to file a joint report detailing the result of this conference. (Doc. 15) The Court
20   required the report to be filed by January 27, 2017. Id. This did not occur. Thus, the Court ORDERS:
21          1.      No later than February 17, 2017, counsel SHALL show cause why sanctions should not
22   be imposed for their failure to comply with the Court’s order;
23          2.      Alternatively, they may file their joint report by February 17, 2017.
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25   IT IS SO ORDERED.
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        Dated:     February 9, 2017                            /s/ Jennifer L. Thurston
27                                                       UNITED STATES MAGISTRATE JUDGE

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